Case 2:04-cr-80335-DPH-VMM ECF No. 371, PageID.2416 Filed 06/01/12 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                      Plaintiff,                   CASE NUMBER: 04-80335
                                                   Hon. Victoria. A. Roberts
 v.

 REGINALD DANCY (D-2),

                      Defendant.
                                                         /

                ORDER DENYING DEFENDANT’S MOTION TO AMEND
                    PRESENTENCE INVESTIGATION REPORT

 I.     INTRODUCTION

        This matter is before the Court on Defendant Reginald Dancy’s Motion to Amend

 Presentence Investigation Report (Doc. 364). Defendant requests that the Presentence

 Investigation Report (PSI) be amended to delete “unknown” and insert either “not

 charged” or “case closed” as the disposition for all arrests listed in the other arrests

 section of the PSI. For the reasons that follow, Defendant’s motion is DENIED.

 II.    BACKGROUND

        On May 31, 2005, Defendant pleaded guilty to conspiracy to distribute marijuana

 and conspiracy to launder money. Based upon Defendant’s guilty plea and conviction,

 on January 4, 2006, the Court sentenced him to a term of 262 months imprisonment, to

 be followed by a 60 month term of supervised release.

        In a letter to the Probation Department dated October 11, 2005, Defendant

 objected to the other arrests section of his PSI as “not accurate or reliable,” and


                                               1
Case 2:04-cr-80335-DPH-VMM ECF No. 371, PageID.2417 Filed 06/01/12 Page 2 of 6




 because “[t]here is no indication that the probation officer looked at each and every

 case filed listed herein.” The other arrests section of the PSI lists 21 other arrests, 19 of

 which have a disposition of “unknown.” The Probation Department responded that the

 records were obtained from the Detroit Police Department during a review of the

 Defendant’s arrest file. Probation stood by the PSI as written.

        At the sentencing hearing, Defendant asked the Court to reserve ruling on certain

 objections to the PSI until after sentencing, including his objection to the other arrests

 section. The relevant part of the transcript reads:

        The Court: Counsel, have all the objections been resolved?

        Mr. Early: No, Your Honor, and I do have a suggestion . . . . the remaining items

        maybe the Court could hold them in abeyance because they do not directly effect

        sentencing, so that should there be a need to raise it in the future, because it

        might effect Mr. Dancy’s confinement in some matter, that we be allowed to do it

        at that point and time.

        The Court: Okay.

        Mr. Early: And the Court can make a decision then and just put them in

        abeyance now.

        The Court: Okay. . . .

        Tr. at 2-3.

 The Court sentenced Defendant without resolving his objections to the other arrests

 section of the PSI.

        On March 9, 2012, Defendant filed the present motion to amend or correct the



                                               2
Case 2:04-cr-80335-DPH-VMM ECF No. 371, PageID.2418 Filed 06/01/12 Page 3 of 6




 PSI. He says the listed dispositions of unknown for the other arrests are having a direct

 effect on his security classification and eligibility for various prison programs and prison

 placement. He says that all of the cases with unknown disposition are matters where

 he was either not charged in court with the offense, or the case was dropped. He says

 there are no convictions on record for any of these offenses and no warrants

 outstanding.

 III.   ANALYSIS

        The Court must decide whether it has jurisdiction to hear a motion to amend a

 presentence report brought six years after the conclusion of sentencing.

        The Government maintains that the Court does not have jurisdiction to

 substantively consider Defendant’s motion. It says that Defendant’s presumption that

 he could have this Court decide his objections after sentencing was wrong, and that he

 must deal with the consequences, however unfortunate, of not pursuing his objections

 at the sentencing hearing.

        Defendant does not cite a rule or statute authorizing the Court to amend a PSI

 after sentencing. Presumably, Defendant brings his motion under Fed. R. Crim. P. 32,

 governing sentence and judgment. Rule 32(i)(1)(3)(B) states that, at sentencing, the

 court “must–for any disputed portion of the presentence report or other controverted

 matter–rule on the dispute or determine that a ruling is unnecessary either because the

 matter will not affect sentencing, or because the court will not consider the matter in

 sentencing.”

        The Court did not rule at sentencing on Defendant’s objections to the other

 arrests section of the PSI because Defendant suggested that the Court could rule later.

                                               3
Case 2:04-cr-80335-DPH-VMM ECF No. 371, PageID.2419 Filed 06/01/12 Page 4 of 6




 It appears, however, that Defendant erred when he assumed the Court could rule upon

 his objections after sentencing. Courts uniformly hold that once the district court

 imposes sentence, it lacks jurisdiction under Rule 32 to hear challenges to a

 presentence report. See United States v. Sarduy, 838 F.2d 157(6th Cir. 1988) (“We

 hold that Fed. R. Crim. P. 32, standing alone, does not provide the district court with

 jurisdiction to hear a motion making a post-judgment collateral attack on one’s sentence

 for a Rule 32 violation) (quoting United States v. Fischer, 821 F.2d 557 (11th Cir.

 1987)); see also United States v. Angiulo, 57 F.3d 38, 41 (1st Cir. 1995) (Criminal Rule

 32 provides no independent foundation for a postsentence motion to correct a PSI

 report . . . .”); United States v. Catabran, 884 F.2d 1288, 1289 (9th Cir. 1989) (“Rule 32

 allows the defendant to challenge factual inaccuracies during imposition of the

 sentence, not later.”) (citation omitted); United States v. Ursillo, 786 F.2d 66, 69 (2d Cir.

 1986) (“We have found no reported case in which a court held that Rule 32 standing

 alone furnished the jurisdictional basis for a belated post-sentencing attack on the

 accuracy of a presentence report.”)

        Nor is the Court persuaded by Defendant’s argument that it can rule on his

 objections now because it agreed at the sentencing hearing to hold the objections in

 abeyance. First, the Court could not have contemplated at the time that Defendant

 would wait six years before attempting to get a ruling on his objections. There is a

 reason Rule 32 requires a ruling at the time of sentencing, as explained in one district

 court opinion: “This requirement serves the double purpose of requiring the judge to

 resolve the dispute in his own mind before he imposes sentence and of requiring the

 judge to resolve the dispute while the matter is still fresh in mind.” United States v.

                                               4
Case 2:04-cr-80335-DPH-VMM ECF No. 371, PageID.2420 Filed 06/01/12 Page 5 of 6




 Williams, 618 F.Supp. 1419, 1420 (E.D. Vir. 1985). However, because Defendant erred

 when he assumed the Court could exercise jurisdiction over his objections after

 sentencing, the Court would not have been able to grant the relief requested even

 absent such a long delay.

        Apparently realizing that Rule 32 cannot provide a path to the relief requested,

 Defendant argues for the first time in his reply brief that Rule 36 provides a basis for

 relief. Rule 36 allows a court to correct at any time “a clerical error in a judgment, order,

 or other part of the record arising from oversight or omission.” Defendant argues that

 “any oversight or omission in not ruling on Defendant’s objections or in failing to make a

 determination that a ruling is unnecessary as required by Rule 32(i)(3)(B) should now

 be corrected pursuant to Rule 36.”

        Defendant is asking the Court to rule on substantive objections to the PSI. This

 is not a clerical task that would fall under the ambit of Rule 36. In United States v.

 Sherbondy, 97 F.3d 1463 (9th Cir. 1996) (unpublished), relied on by Defendant, the

 Ninth Circuit remanded to the district court so that it could append, pursuant to Rule 36,

 its factual findings to the PSI if it had inadvertently failed to do so previously. The Ninth

 Circuit did not hold that the district court could make new substantive findings on

 objections, as Defendant asks this Court to do. Rule 36 contemplates “correction of

 ministerial errors,” Id., not making new substantive rulings. Accordingly, Defendant

 cannot use Rule 36 as a basis for jurisdiction.

 IV.    CONCLUSION

        Defendant says the element of fairness plays a large role in deciding this motion.

 It is unfortunate that Defendant may be suffering negative consequences as a result of

                                               5
Case 2:04-cr-80335-DPH-VMM ECF No. 371, PageID.2421 Filed 06/01/12 Page 6 of 6




 his failure to pursue certain objections at sentencing. However, where, as here, the

 Court lacks subject matter jurisdiction, it is powerless to enter relief. Defendant’s motion

 is DENIED.

        IT IS ORDERED.


                                                  S/Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge

 Dated: June 1, 2012

  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record by electronic means or U.S. Mail on
  June 1, 2012.

  S/Linda Vertriest
  Deputy Clerk




                                                    6
